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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


RG Golf Warehouse, Inc.,                    Case No: 0:19-cv-00585 (WMW-DTS)

                            Plaintiff,

v.                                            [PROPOSED] ORDER GRANTING
                                                DEFENDANT’S MOTION TO
The Golf Warehouse, Inc.,                          AMEND PLEADINGS

                            Defendant.


                                         ORDER

      This matter came before the Court on Thursday, July 16, 2020 at 10:30 a.m.,

before the undersigned Judge, in the United States District Court for the District of

Minnesota, regarding Defendant The Golf Warehouse, Inc.’s (“TGW”) motion for an

order pursuant to Fed R. Civ. P. 15(a)(2) granting TGW’s Motion to Amend Pleadings.

      Based upon the foregoing, and the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

         1. TGW’s Motion to Amend Pleadings is GRANTED.

         2. TGW shall serve and file its Amended Answer & Counterclaims against
            Plaintiff within ten (10) days of this Order.


SO ORDERED:



Dated: _________________, 2020
                                              Hon. David T. Schultz
                                              United States Magistrate Judge
